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Attorneys for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                  ) No. 3:20-mj-00270-DMS
                                             )
                          Plaintiff,         )
                                             )
         vs.                                 )
                                             )
  DUANE BYRON “Fat Daddy”                    )
  FIELDS,                                    )
                                             )
                      Defendant.             )
                                             )

       NOTICE TO COURT REGARDING DEFENDANT’S POTENTIAL FOR
       DETENTION AT THE ANCHORAGE CORRECTIONAL CENTER

       Counsel for the United States informs the Court of information the United States

Marshal, District of Alaska, has relayed to him from the State of Alaska Department of

Corrections in regards to the possibility that it would accept Duane Byron Fields into its

custody if the Court were to order Fields detained pending trial in this matter. According




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to the DOC, if the Court ordered him detained, based on Field’s COVID-19 test history, it

would admit him into custody.

       On May 27, 2020, during the initial appearance on the criminal complaint filed in

this case, the United States Probation Office revealed that the Anchorage Department of

Health, on May 21, had given Fields clearance to be free of the mandatory quarantine

requirements, following Field’s positive test result for COVID-19. It was only because

the Department of Corrections would not have admitted him into that the United States

did not ask the Court to place him into custody following the filing of the petition to

revoke his term of supervised release in case 3:12-CR-00022-TMB, the United States

asks this Court to order Fields’ detention pending the resolution of this case.

       The United States submits that the Court should order Fields’ detention. Fields has

a long criminal history, including two federal drug felony convictions, as well as

weapons offenses. Every year for 31 out of his 48 years, beginning at the age of 17,

Fields has either been the subject of criminal charges or been incarcerated for lengthy

periods of time after being convicted of serious crimes, including federal drug and gun

offenses. Furthermore, he has a terrible history of not complying with court ordered

conditions of release or supervision, failing to appear when the court has ordered to him

to appear, and a history of committing crimes while under court ordered supervision.

       His history of non-compliance with court orders is further exemplified by the

nature of the pending case where he is charged with willfully disobeying this Court’s

order that he abide by the mandatory 14-day State of Alaska COVID-19 quarantine

requirements. The filings in case 3:12-cr-00022-TMB make clear that the Court

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considered and incorporated the mandatory quarantine as part of its order granting Fields

the early release he requested. Fields, through counsel, responded to the Court’s order

directing him to submit a notice of where Fields would stay during the self-quarantine

period. Moreover, on May 10th, the United States Probation Office reminded Fields upon

his return that he had to comply with the Court’s self-quarantine order. On May 11th, the

USPO found that Fields had disregarded the self-quarantine order by leaving the place

the Court had ordered him to stay at during the quarantine.

       Based on Fields’ past criminal history and history of non-compliance with court

orders, the United States submits that Fields presents a continuing risk of danger to the

community as well as a risk of non-compliance with the Court’s orders. For this, the

United States requests his detention pending resolution of the charges against him.

       RESPECTFULLY SUBMITTED May 28, 2020, in Anchorage, Alaska.

                                                 BRYAN SCHRODER
                                                 United States Attorney

                                                 s/ Stephan A. Collins
                                                 STEPHAN A. COLLINS
                                                 Assistant U.S. Attorney
                                                 United States of America


CERTIFICATE OF SERVICE

I hereby certify that on May 28, 2020, a copy
of the foregoing was served electronically on:

Cynthia Franklin

s/ Stephan A. Collins
Office of the U.S. Attorney


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